 Case 3:18-cv-02862-M-BH Document 30 Filed 07/12/19                     Page 1 of 2 PageID 250


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

BERTRUM JEAN et al.,                               §
                                                   §
                Plaintiffs,                        §
                                                   §   CIVIL ACTION NO. 3:18-CV-2862-M-BH
v.                                                 §
                                                   §   Referred to United States Magistrate Judge
AMBER GUYGER et al.,                               §   for Pretrial Management
                                                   §
                Defendants.                        §

                          NOTICE OF APPEARANCE OF COUNSEL

TO THE HONORABLE COURT:

        Tatia R. Wilson of the Dallas City Attorney’s Office enters her appearance as counsel of

record for the Defendant City of Dallas in the above-styled cause of action, and requests that the

Clerk of the Court enter her appearance on the civil docket for this matter. Ms. Wilson is

authorized to receive service of all pleadings, notices, orders, and other papers filed in this lawsuit

through the Court’s electronic case filing system. Ms. Wilson’s contact information is as follows:

        Tatia R. Wilson
        Senior Assistant City Attorney
        7DN Dallas City Hall
        1500 Marilla Street
        Dallas, Texas 75201
        Telephone: (214) 671-9553
        Facsimile: (214) 670-0622
        E-mail: tatia.wilson@dallascityhall.com




Notice of Appearance of Counsel
Jean v. Guyger, Civil Action No. 3:18cv2862-M-BH                                               Page 1
 Case 3:18-cv-02862-M-BH Document 30 Filed 07/12/19                          Page 2 of 2 PageID 251


                                                   Respectfully submitted,

                                                   CITY ATTORNEY OF THE CITY OF DALLAS

                                                   Christopher J. Caso
                                                   Interim City Attorney

                                                   s/ Tatia R. Wilson
                                                   Tatia R. Wilson
                                                   Senior Assistant City Attorney
                                                   Texas State Bar No. 00795793
                                                   tatia.wilson@dallascityhall.com

                                                   7DN Dallas City Hall
                                                   1500 Marilla Street
                                                   Dallas, Texas 75201
                                                   Telephone: 214-670-3519
                                                   Facsimile: 214-670-0622

                                                   Attorneys for Defendant City of Dallas


                                  CERTIFICATE OF SERVICE

        I certify that on July 12, 2019, I electronically filed the foregoing document with the clerk
of court for the United States District Court for the Northern District of Texas using the CM/ECF
electronic case filing system of the court. The electronic case filing system will send a “Notice of
Electronic Filing” notification to all case participants registered for electronic notice, including all
pro se parties and/or attorneys of record who have consented in writing to accept this Notice as
service of this document by electronic means. I further certify that I have served to the extent
applicable all case participants not registered for electronic notice by another manner authorized by
Federal Rule of Civil Procedure 5(b)(2).


                                                   s/ Tatia R. Wilson
                                                   Tatia R. Wilson
                                                   Senior Assistant City Attorney




Notice of Appearance of Counsel
Jean v. Guyger, Civil Action No. 3:18cv2862-M-BH                                                Page 2
